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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


        REBECCA ANN GOETZ,                                 )
                                                           )
                Plaintiff,                                 )       Case No. 4:23-cv-00031
                                                           )
        v.                                                 )
                                                           )
        KIMBERLY GARDNER, et al.,                          )
                                                           )
                Defendants.                                )

                                        MOTION TO DISMISS
        COME NOW Defendants Kimberly Gardner in her individual capacity and in her official

capacity as the Circuit Attorney for the City of St. Louis, Serena Wilson-Griffin in her individual

capacity, and Victor Martin in his individual capacity (collectively the “CAO Defendants”) by and

through undersigned counsel and move to dismiss Plaintiff’s Complaint under Rule 12(b)(6) of the

Federal Rules of Civil Procedure. In support of this Motion, the CAO Defendants state as follows:

        1.      Plaintiff’s Complaint alleges Plaintiff was terminated because of her race (Count III)

or that her termination was retaliation for opposing an incident in which a non-supervisory co-worker

said Plaintiff was “acting as a slave owner” (Count IV). She also claims the CAO Defendants conspired

to terminate her. (Count VI).

        2.      Plaintiff’s claims against the Circuit Attorney in her official capacity should be

dismissed because the claims are barred by the doctrine of sovereign immunity. See Rodgers v. Univ. of

Mo. Bd. of Curators, 56 F. Supp. 3d 1037, 1049 (E.D. Mo. 2014), aff’d as modified sub nom. Rodgers v. Curators

of Univ. of Mo. Sys., 634 F. App’x 598 (8th Cir. 2015).

        3.      Plaintiff’s race-motivated wrongful discharge claim should be dismissed because

Plaintiff has failed to plead either direct evidence plausibly demonstrating a racially discriminatory

motive or disparate treatment. Instead, she pled the opposite: Ms. Gardner hired Plaintiff and gave

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Plaintiff a raise shortly before her termination. Complaint ¶¶ 1, 33. Further, and perhaps most

significantly, Ms. Gardner did not terminate another employee of the same race as Plaintiff whom

Plaintiff contends was engaged in the same conduct as Plaintiff. Complaint ¶¶ 74, 91, 102, 139-40.

        4.      Plaintiff’s retaliatory discharge claim should be dismissed. No reasonable person

apprised of the applicable precedents would believe Plaintiff was subjected to severe and pervasive

discrimination actionable under 42 U.S.C. Section 1981. See Singletary v. Missouri Dep’t of Corr., 423 F.3d

886, 892 (8th Cir. 2005) (“Hostile work environment harassment occurs when the workplace is

permeated with discriminatory intimidation, ridicule, and insult that is sufficiently severe or pervasive

to alter the conditions of the victim’s employment and create an abusive working environment.”);

Gibson v. Concrete Equip. Co., Inc., 960 F.3d 1057, 1064–65 (8th Cir. 2020) (“An individual making a

complaint must have an objectively reasonable belief that an actionable [ ] violation has occurred for

the complaint to qualify as a protected activity.”) Further, she did not reasonably oppose any

purported hostile environment when she texted her friend vowing to have her co-worker terminated

and admitted, “I [am] not worried about what I sent because, once again, my intent was talking to

someone I thought was a friend. I had no idea it would be seen by anyone else.” See Exhibit A.

        5.      Plaintiff’s conspiracy claim should be dismissed because the underlying claims fail.

Further, Plaintiff admitted that all Defendants were working within the scope of their employment

and a single entity cannot conspire with itself. Additionally, Plaintiff has pled no facts showing the

existence of a conspiracy to achieve an unlawful objective.

        6.      Pursuant to Local Rule 4.01(A) the CAO Defendants incorporate by reference as if

fully stated here their contemporaneously filed Memorandum in Support of their Motion to Dismiss.

        WHEREFORE, the CAO Defendants respectfully request this Court Grant their Motion to

Dismiss and order such other and further relief as this Court deems just and proper.




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                                       Respectfully submitted,

                                       CAPES, SOKOL, GOODMAN & SARACHAN, P.C.

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                                       Attorneys for Defendants Kimberly Gardner,
                                       Serena Wilson Griffin, and Victor H. Martin.



                                 CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing was sent via electronic mail to

the counsel for Plaintiff and filed using the Court’s ECF filing system this 10th day of March, 2023:

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                                               /s/ Aaron E. Schwartz




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